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                                                                             FILED
                    IN THE UNITED STATES DISTRICT COURT                          DEC - 1 2016
                        FOR THE DISTRICT OF MONTANA                         Clerk, U S District Court
                                                                              District Of Montana
                              BILLINGS DIVISION                                      Billings




 UNITED STATES OF AMERICA,
                                                  CR 16-07-BLG-SPW-2
                      Plaintiff,

 vs.                                               ORDER

 ROPER RAY BLANKENSHIP,

                      Defendant.

       Upon the request of U.S. Probation,

       IT IS HEREBY ORDERED that sentencing currently scheduled for January

11, 2017 at 9:30 a.m., is VACATED and reset to commence on Thursday,

February 9, 2017 at 10:30 a.m. in the James F. Battin U.S. Courthouse, Billings,

Montana.

       IT IS FURTHER ORDERED that,

       1.    The United States Probation Office shall conduct a presentence

investigation and prepare a presentence report.   Fed. R. Crim. P. 32(c), (d); 18

U.S.C. § 3552(a).




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        2.   The probation officer shall disclose the completed report, except for

recommendations of the probation officer, to Defendant, counsel for Defendant, and

counsel for the government on or before December 23, 2016.        The probation

officer shall not disclose any recommendation made or to be made to the Court.

        3.   If restitution is mandatory, the probation officer shall discuss a

payment plan with Defendant and shall make recommendations to the Court

concerning interest and a payment schedule.

        4.   Counsel shall attempt in good faith to resolve disputes over any

material in the presentence report.   Unresolved objections to be relied upon at

sentencing shall be presented to the probation officer on or before January 6, 2017.

 U.S.S.G. § 6Al.2.    Any unresolved objections are expected to be included in

the pre-sentence report, not in a sentencing memorandum.

        5.   The presentence report, in final form, including any unresolved

objections, shall be delivered to the Court and the parties on or before January 20,

2017.

        6.   Sentencing memoranda and supporting documents addressing all

relevant sentencing issues shall be filed on or before January 27, 2017.     Absent

good cause shown, sentencing memoranda and supporting documents filed after

January 27, 2017 will not be considered in addressing sentencing issues.     Failure

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to timely file sentencing memoranda may result in imposition of sanctions against

counsel.

      7.     Responses to sentencing memoranda shall be filed on or before

February 3, 2017.

      8.     Reply briefs will not be accepted for filing in sentencing matters.

      9.     The Court will resolve objections included in the Addendum to the

presentence report at the sentencing hearing in accordance with U.S.S.G. § 6Al.3.

      10.       All parties that intend to have witnesses testify at sentencing shall

give notice to this Court ten (10) days prior to the sentencing date.

      The Clerk shall forthwith notify the parties of the making of this Order.

                  •   :?~
      DATED this .5:!J2 day ofNovember, 2016.

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                                               U.S. DISTRICT JUDGE




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